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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

NOVARTIS PHARMACEUTICALS                             )
CORPORATION,                                         )
                                                     )    CONS. C.A. NO. 18-1043-LPS
                  Plaintiff,                         )
                                                     )
             v.                                      )    (18-1038-LPS)
                                                     )
APOTEX INC. and APOTEX CORP.,                        )
                                                     )
                  Defendants.                        )
                                                     )
                                                     )
                                                     )


                           STIPULATION AND PROPOSED ORDER
                        TO STAY BETWEEN PLAINTIFF AND APOTEX

        WHEREAS, on July 13, 2018, Plaintiff Novartis Pharmaceuticals Corporation

(“Plaintiff”) commenced Civil Action No. 18-1038-LPS (the “Action”) against Defendants

Apotex Inc. and Apotex Corp. (“Apotex”), alleging infringement of U.S. Patent No. 9,187,405

(“the ’405 patent”) based on Apotex’s submission of Abbreviated New Drug Application

(“ANDA”) No. 207993 for fingolimod 0.5 mg capsules;

        WHEREAS, on February 3, 2017, Apotex brought an inter-partes review challenging

the validity of the claims of the ’405 patent before the Patent Trials and Appeals Board;

        WHEREAS, the Patent Trial and Appeal Board (“PTAB”) instituted Case No. IPR2017-

00854 and issued a final written decision denying all three grounds of invalidity;

        WHEREAS, Apotex has appealed the decision in Case No. IPR2017-00854 and that

appeal is currently pending before the United States Court of Appeals for the Federal Circuit;

        WHEREAS, Apotex challenges the validity and enforceability of the ’405 patent before

this Court, and therefore denies the disputed allegations in the Action;

        WHEREAS, Plaintiff has asserted the ’405 patent against other entities under 35 U.S.C.
§ 271(e)(2) in related litigations currently pending before this Court, i.e., Novartis


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Pharmaceuticals Corp. v. Teva Pharmaceuticals USA, Inc. et al., C.A. No. 18-cv-01039-LPS;

Novartis Pharmaceuticals Corp. v. Accord Healthcare Inc. et al, C.A. No. 18-cv-01043-LPS,

and Novartis Pharmaceuticals Corp. v. Sun Pharmaceutical Industries, Ltd. et al., C.A. No. 18

cv-01040-LPS (collectively, the “Related Actions”);

        WHEREAS, on October 25, 2018, the Court consolidated this Action with the Related

Actions for all pre-trial purposes, and the lead case is 18-cv-1043-LPS (collectively, the

“Consolidated Action”); and

        WHEREAS, to conserve the Parties’ and the Court’s resources, time, and expenses,

Plaintiff and Apotex have agreed to stay all claims, defenses and/or counterclaims between them.



        IT IS HEREBY STIPULATED, subject to the approval of the Court:

        1. Except to the extent necessary to implement or enforce this Stipulation and Order, all

claims, defenses and/or counterclaims between Plaintiff and Apotex are stayed. This order shall

not apply as against any other defendant.

        2. Apotex challenges the validity and enforceability of the claims of the ’405 patent but

does not contest that the filing of ANDA No. 207993 constitutes an act of infringement under 35

U.S.C. § 271(e)(2) with respect to the asserted claims. Apotex and any affiliates, parents,

subsidiaries, or assigns shall be bound by the adjudication on the merits by this District Court in
the Consolidated Action regarding the validity, patentability, or unenforceability of the ’405

patent. Upon entry of the last final judgment in the Consolidated Action, this stay shall be lifted,

and final judgment shall be entered as between Plaintiff and Apotex as if Apotex had fully

participated in the adjudication of the claims and defenses alleged in the Consolidated Action

regarding the validity, patentability, or unenforceability of the ’405 patent. Any judgment or

determination finding willful infringement and/or exceptional case under 35 U.S.C. § 285, costs

under 28 U.S.C. § 1920, or any other award of fees, costs or sanctions in the Consolidated Action

shall not be entered or otherwise apply as between Plaintiff and Apotex.
        3. Apotex agrees that it will not sell, offer for sale, market, or in any way act on

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approval or tentative approval from the FDA for the product that is the subject of Apotex’s

ANDA No. 207993 unless and until the claims of the ‘405 patent asserted in the Consolidated

Action are found invalid, unpatentable, or unenforceable in a final written opinion or order

issued by a district court, the PTAB or the Court of Appeals for the Federal Circuit.

        4.        If for any reason there is or will be no adjudication on the merits in the

Consolidated Action regarding the validity, patentability, or unenforceability of the ’405 patent,

then either Party may move to lift the stay between Plaintiff and Apotex, provided that neither

Plaintiff nor Apotex will seek to lift the stay unless and until Plaintiff and Apotex have first

negotiated in good faith at least sixty (60) days prior to the filing of such motion as to how the

claims, defenses and/or counterclaims between Plaintiff and Apotex should proceed.

        5.        If the stay is lifted pursuant to Paragraph 4, the Parties agree to expedite discovery

and the case schedule to the extent reasonably practicable.



Dated: November 5, 2018


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IT IS SO ORDERED this ______________ day of November, 2018.


                                      _______________________________
                                      Chief United States District Judge
                                      Hon. Leonard P. Stark




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